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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

DONNA CURLING, ET AL.,                  )
                                        )
                Plaintiffs,             )
                                        )       CIVIL ACTION
 vs.                                    )
                                        )       FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER,                     )
ET AL.,                                 )
                                        )
                Defendants.             )

                       DECLARATION OF HARRI HURSTI


       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.

       1.    My name is Harri Hursti. I am over the age of 21 and competent to

give this testimony. The facts stated in this declaration are based on my personal

knowledge, unless stated otherwise.

       2.    My background and qualifications in voting system cybersecurity are

set forth in my December 16, 2019 declaration. (Doc. 680-1, pages 37 et seq). I

stand by everything in that declaration and in my August 21, 2020 declaration.

(Doc. 800-2).



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      3.      I am also an expert in ballot scanning because of extensive

background in digital imaging prior by work researching election systems. In

addition, in 2005 I started an open source project for scanning and auditing paper

ballots from images. As a result, I am familiar with different scanner types, how

scanner settings and image processing features change the images, and how file

format choices affect the quality and accuracy of the ballots.

      4.      I am engaged as an expert in this case by Coalition for Good

Governance.

      5.      In developing this declaration and opinion, I visited Atlanta to observe

certain operations of the June 9, 2020 statewide primary, and the August 11 runoff.

During the June 9 election, I was an authorized poll watcher in some locations and

was a public observer in others. On August 11, I was authorized as an expert

inspecting and observing under the Coalition for Good Governance’s Rule 34

Inspection request in certain polling places and the Fulton County Election

Preparation Center. As I will explain below in this declaration, my extensive

experience in the area of voting system security and my observations of these

elections lead to additional conclusions beyond those in my December 16, 2019

declaration. Specifically:




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      a) the scanner and tabulation software settings being employed to determine

           which votes to count on hand marked paper ballots are likely causing

           clearly intentioned votes not to be counted;

      b) the voting system is being operated in Fulton County in a manner that

           escalates the security risk to an extreme level; and

      c) voters are not reviewing their BMD printed ballots, which causes BMD

           generated results to be un-auditable due to the untrustworthy audit trail.

Polling Place Observations

      6.      Election observation on Peachtree Christian Church. The ballot

marking devices were installed so that 4 out of 8 touchscreen devices were clearly

visible from the pollbook check in desk. Voter’s selections could be effortlessly

seen from over 50 ft away.

      7.      Over period of about 45 minutes, I only observed one voter who

appeared to be studying the ballot after picking it up from the printer before casting

it in the scanner. When voters do not fully verify their ballot prior to casting, the

ballots cannot be considered a reliable auditable record.

      8.      The scanner would reject some ballots and then accept them after they

were rotated to a different orientation. I noted that the scanner would vary in the

amount of time that it took to accept or reject a ballot. The delay varied between 3

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and 5 seconds from the moment the scanner takes the ballot until the scanner either

accepts the ballot or rejects it. This kind of behavior is normal on general purpose

operating systems multitasking between multiple applications, but a voting system

component should be running only a single application without outside

dependencies causing variable execution times.

      9.     Further research is necessary to determine the cause of the unexpected

scanning delays. A system that is dedicated to performing one task repeatedly

should not have unexplained variation in processing time. As security researcher,

we are always suspicious about any unexpected variable delays, as those are

common telltale signs of many issues, including a possibility of unauthorized

code being executed. So, in my opinion changes of behaviors between

supposedly identical machines performing identical tasks should always be

investigated.


      When ballots are the same and are produced by a ballot marking device,

there should be no time difference whatsoever in processing the bar codes.

Variations in time can be the result of many things - one of them is that the

scanner encounters an error reading the bar code and needs to utilize error

correcting algorithms to recover from that error. Further investigation is


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necessary to determine the root cause of these delays, the potential impact of the

error correcting algorithms if those are found to be the cause, and whether the

delay has any impact upon the vote.


      10.    Election observation in Central Park Recreation Center. The Poll

place manager told me that no Dominion trained technician had reported on

location to help them that morning.

      11.    The ballot marking devices were originally installed in a way that

voter privacy was not protected, as anyone could observe across the room how

people are voting on about 2/3 devices.

      12.    The ballot scanner took between 4 and 6 seconds to accept the ballot.

I observed only one ballot being rejected.

      13.    Generally, voters did not inspect the ballots after taking it from the

printer and casting it into the scanner.

      14.    Election observation in Fanplex location. Samantha Whitley and

Harrison Thweatt were poll watchers at the Fanplex polling location. They

contacted me at approximately 9:10am about problems they were observing with

the operation of the BMDs and Poll Pads and asked me to come to help them




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understand the anomalies they were observing. I arrived at FanPlex at

approximately 9:30am.

       15.    I observed that the ballot scanner located by a glass wall whereby

standing outside of the building observe the scanning, would take between 6 and 7

seconds to either accept or reject the ballot.

       16.    For reasons unknown, on multiple machines, while voters were

attempting to vote, the ballot marking devices sometimes printed “test” ballots. I

was not able to take a picture of the ballot from the designated observation area,

but I overheard the poll worker by the scanner explaining the issue to a voter which

was sent back to the Ballot-Marking Device to pick up another ballot from the

printer tray. Test ballots are intended to be used to test the system but without

being counted by the system during an election. The ballot scanner in election

settings rejects test ballots, as the scanners at FanPlex did. This caused confusion

as the voters needed to return to the ballot-marking device to retrieve the actual

ballot. Some voters returned the test ballot into the printer tray, potentially

confusing the next voter. Had voters been reviewing the ballots at all before taking

them to the scanner, they would have noticed the “Test Ballot” text on the ballot. I

observed no voter really questioning a poll worker why a “Test” ballot was printed

in the first place.

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      17.    Obviously, during the election day, the ballot marking device should

not be processing or printing any ballot other than the one the voter is voting.

While the cause of the improper printing of ballots should be examined, the fact

that this was happening at all is likely indicative of a wrong configuration given to

the BMD, which in my professional opinion raises another question: Why didn’t

the device print only test ballots? And how can the device change its behavior in

the middle of the election day? Is the incorrect configuration originating from the

Electronic Pollbook System? What are the implications for the reliability of the

printed ballot and the QR code being counted?

      18.    Election observation Park Tavern. The scanner acceptance delay did

not vary as it had in previous locations and was consistently about 5 seconds from

the moment the scanner takes the ballot, to the moment the scanner either accepts

the ballot or rejects it. The variation between scanners at different locations is

concerning because these are identical physical devices and should not behave

differently while performing the identical task of scanning a ballot.

      19.    The vast majority of voters at Park Tavern did not inspect the ballots

after taking them from the printer and before casting them in the scanner.




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Fulton Tabulation Center Operation-Election Night, August 11, 2020

      20.    In Fulton County Election Preparation Center (“EPC”) on election

night I reviewed certain operations as authorized by Rule 34 inspection.

      21.    I was permitted to view the operations of the upload of the memory

devices coming in from the precincts to the Dominion Election Management

System (“EMS”) server. The agreement with Fulton County was that I could

review only for a limited period of time; therefore, I did not review the entire

evening’s process. Also, Dominion employees asked me to move away from the

monitors containing the information and messages from the upload process and

error messages, limiting my ability to give a more detailed report with

documentation and photographs of the screens. However, my vantage point was

more than adequate to observe that system problems were recurring and the

Dominion technicians operating the system were struggling with the upload

process.

      22.    It is my understanding the same EMS equipment and software had

been used in Fulton County’s June 9, 2020 primary election.

      23.    It is my understanding that the Dominion technician (“Dominic”)

charged with operating the EMS server for Fulton County had been performing




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these duties at Fulton County for several months, including during the June 9

primary.

      24.    During my August 11 visit, and a follow-up visit on August 17, I

observed that the EMS server was operated almost exclusively by Dominion

personnel, with little interaction with EPC management, even when problems were

encountered. In my conversations with Derrick Gilstrap and other Fulton County

Elections Department EPC personnel, they professed to have limited knowledge of

or control over the EMS server and its operations.

      25.    Outsourcing the operation of the voting system components directly to

the voting system vendors’ personnel is highly unusual in my experience and of

grave concern from a security and conflict of interest perspective. Voting system

vendors’ personnel have a conflict of interest because they are not inclined to

report on, or address, defects in the voting systems. The dangers this poses is

aggravated by the absence of any trained County personnel to oversee and

supervise the process.

      26.    In my professional opinion, the role played by Dominion personnel in

Fulton County, and other counties with similar arrangements, should be considered

an elevated risk factor when evaluating the security risks of Georgia’s voting

system.

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      27.    Based on my observations on August 11 and August 17, Dell

computers running the EMS that is used to process Fulton county votes appeared

not to have been hardened.

      28.    In essence, hardening is the process of securing a system by reducing

its surface of vulnerability, which is larger when a system performs more

functions; in principle it is to the reduce the general purpose system into a single-

function system which is more secure than a multipurpose one. Reducing available

ways of attack typically includes changing default passwords, the removal of

unnecessary software, unnecessary usernames or logins, grant accounts and

programs with the minimum level of privileges needed for the tasks and create

separate accounts for privileged operations as needed, and the disabling or removal

of unnecessary services.

      29.    Computers performing any sensitive and mission critical tasks such as

elections should unquestionably be hardened. Voting system are designated by the

Department of Homeland Security as part of the critical infrastructure and certainly

fall into the category of devices which should be hardened as the most fundamental

security measure. In my experience, it is unusual, and I find it unacceptable for an

EMS server not to have been hardened prior to installation.




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      30.    The Operating System version in the Dominion Election Management

computer, which is positioned into the rack and by usage pattern appears to be the

main computer, is Windows 10 Pro 10.0.14393. This version is also known as the

Anniversary Update version 1607 and it was released August 2, 2016. Exhibit A is

a true and correct copy of a photograph that I took of this computer.

      31.    When a voting system is certified by the EAC, the Operating System

is specifically defined, as Windows 10 Pro was for the Dominion 5.5-A system.

Unlike consumer computers, voting systems do not and should not receive

automatic “upgrades” to newer versions of the Operating System. without

undergoing tests for conflicts with the new operating system software.

      32.    That computer and other computers used in Georgia’s system for vote

processing appear to have home/small business companion software packages

included. Exhibits B and C are true and correct copies of photographs that I took

of the computer located in the rack and the computer located closest to the rack on

the table to the right. The Start Menu shows a large number of game and

entertainment software icons. As stated before, one of the first procedures of

hardening is removal of all unwanted software, and removal of those game icons

and the associated games and installers alongside with all other software which is

not absolutely needed in the computer for election processing purposes would be

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one of the first and most basic steps in the hardening process. In my professional

opinion, independent inquiry should be promptly made of all 159 counties to

determine if the Dominion systems statewide share this major deficiency.

      33.    Furthermore, when I asked the Dominion employee Dominic assigned

to the Fulton County election server operation about the origin of the Windows

operating system, he answered that he believed that “it has been provided by the

State.”

      34.    Since Georgia’s Dominion system is new, it is a reasonable

assumption that all machines in the Fulton County election network had the same

version of Windows installed. However, not only the two computers displayed

different entertainment software icons, but additionally one of the machines in

Fulton’s group of election servers had an icon of computer game called

“Homescapes” which is made by Playrix Holding Ltd., founded by Dmitry and

Igor Bukham in Vologda, Russia. Attached as Exhibit C is a true and correct copy

of a photograph that I took of the Fulton voting system computer” Client 02”. The

icon for Homescapes is shown by the arrow on Exhibit C.

      35.    The Homescapes game was released in August 2017, one year after

Fulton County’s operating system release. If the Homescapes game came with the

operating system it would be unusual, because at the time of the release of

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Homescapes, Microsoft had already released 3 major Microsoft Windows 10

update releases after build 14393 and before the release of that game. This calls

into question whether all Georgia Dominion system computers have the same

operating system version, or how the game has come to be having a presence in

Fulton’s Dominion voting system.

      36.    Although this Dominion voting system is new to Georgia, the

Windows 10 operating system of at least the ‘main’ computer in the rack has not

been updated for 4 years and carries a wide range of well-known and publicly

disclosed vulnerabilities. At the time of this writing, The National Vulnerability

Database maintained by National Institute of Standards and Technology lists 3,177

vulnerabilities mentioning “Windows 10 Pro” and 203 vulnerabilities are

specifically mentioning “Windows 10 Pro 1607” which is the specific version

number of the build 14393 that Dominion uses.

      37.    Even without internet connectivity, unhardened computers are at risk

when those are used to process removable media. It was clear that when Compact

Flash storage media containing the ballot images, audit logs and results from the

precinct scanners were connected to the server, the media was automounted by the

operating system. When the operating system is automounting a storage media, the

operating system starts automatically to interact with the device. The zero-day

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vulnerabilities exploiting this process has been recurringly discovered from all

operating systems, including Windows. Presence of automount calls also into

question presence of another setting which is always disabled in hardening process.

It is autorun, which automatically executes some content on the removable media.

While this is convenient for consumers, it poses extreme security risk.

      38.    Based on my experience and mental impression observing the

Dominion technician’s activities, Fulton County’s EMS server management seems

to be an ad hoc operation with no formalized process. This was especially clear on

the manual processing of the memory cards storage devices coming in from the

precincts on election night and the repeated access of the operating system to

directly access filesystem, format USB devices, etc. This kind of operation in

naturally prone to human errors. I observed personnel calling on the floor asking if

all vote carrying compact flash cards had been delivered from the early voting

machines for processing, followed by later finding additional cards which had been

overlooked in apparent human error. Later, I heard again one technician calling on

the floor asking if all vote carrying compact flashes had been delivered. This

clearly demonstrates lack of inventory management which should be in place to

ensure, among other things, that no rogue storage devices would be inserted into

the computer. In response, 3 more compact flash cards were hand-delivered. Less

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than 5 minutes later, I heard one of the county workers say that additional card was

found and was delivered for processing. All these devices were trusted by printed

label only and no comparison to an inventory list of any kind was performed.

      39.    In addition, operations were repeatedly performed directly on the

operating system. Election software has no visibility into the operations performed

directly on the operating system, and therefore those are not included in election

system event logging. Those activities can only be partially reconstructed from

operating system logs – and as these activities included copying election data files,

election software log may create false impression that the software is accessing the

same file over a period of time, while in reality the file could had been replaced

with another file with the same name by activities commanded to the operating

system. Therefore, any attempt to audit the election system operated in this manner

must include through analysis of all operating system logs, which complicates the

auditing process. Unless the system is configured properly to collect file system

auditing data is not complete. As the system appears not to be hardened, it is

unlikely that the operating system has been configured to collect auditing data.

      40.    A human error when operating live election system from the operating

system can result in a catastrophic event destroying election data or even rendering

the system unusable. Human error is likely given the time pressure involved and,

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at least in Fulton County, no formal check lists or operating procedures were

followed to mitigate the human error risk. The best practice is to automate trivial

tasks to reduce risk of human error, increase the quality assurance of overall

operations and provide auditability and transparency by logging.

      41.    Uploading of memory cards had already started before I arrived at

EPC. While one person was operating the upload process, the two other Dominion

employees were troubleshooting issues which seemed to be related to ballot images

uploads. I repeatedly observed error messages appearing on the screen of the EMS

server. I was not able to get picture of the errors on August 11th, I believe the error

was the same or similar that errors recurring August 17th as shown on Exhibit D

and discussed later in this declaration. Dominion employees were troubleshooting

the issue with ‘trial-and-error’ approach. As part of this effort they accessed

“Computer Management” application of Windows 10 and experimented with

trouble shooting the user account management feature. This demonstrates that they

had complete access to the computer. This means there are no meaningful access

separation and privileges and roles controls protecting the county’s primary

election servers. This also greatly amplifies the risk of catastrophic human error

and malicious program execution.




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      42.    I overheard the Dominion technician’s conversation that they had

issues with file system structure and “need 5 files out of EMS server and paste.

Delete everything out of there and put it there.” To communicate the gravity of the

situation to each other they added “Troubleshooting in the live environment”.

These conversations increased the mental image that they were not familiar the

issue they were troubleshooting.

      43.    After about 45 minutes of trying to solve the issue by instructions

received over the phone, the two Dominion employees’ (who had been

troubleshooting) behavior changed. The Dominion staff member walked behind

the server rack and made manual manipulations which could not be observed from

my vantage point. After that they moved with their personal laptops to a table

physically farther away from the election system and stopped trying different ways

to work around the issue in front of the server, and no longer talked continuously

with their remote help over phone.

      44.    In the follow-up-calls I overheard them ask people on the other end of

the call to check different things, and they only went to a computer and appeared to

test something and subsequently take a picture of the computer screen with a

mobile phone and apparently send it to a remote location.




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      45.    Based on my extensive experience, this all created a strong mental

impression that the troubleshooting effort was being done remotely over remote

access to key parts of the system. Additionally, new wireless access point with a

hidden SSID access point name appeared in the active Wi-Fi stations list that I was

monitoring, but it may have been co-incidental. Hidden SSIDs are used to obscure

presence of wireless networking from casual observers, although they do not

provide any real additional security.

      46.    If in fact remote access was arranged and granted to the server, this

has gravely serious implications for the security of the new Dominion system.

Remote access, regardless how it is protected and organized is always a security

risk, but furthermore it is transfer of control out of the physical perimeters and

deny any ability to observe the activities.

      47.    I also observed USB drives marked with the Centon DataStick Pro

Logo with no visible inventory control numbering system being taken repeatedly

from the EMS server rack to the Fulton managers’ offices and back. The

Dominion employee told me that the USB drives were being taken to the Election

Night Reporting Computer in another office. This action was repeated several

times during the time of my observation. Carrying generic unmarked and therefore

unidentifiable media out-of-view and back is a security risk – especially when the

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exact same type of devices was piled on the desk near the computer. During the

election night, the Dominion employees reached to storage box and introduced

more unmarked storage devices into the ongoing election process. I saw no effort

made to maintain a memory card inventory control document or chain of custody

accounting for memory cards from the precincts.

      48.    I also visited the EPC on August 17. During that visit, the staff

working on uploading ballots for adjudication experienced an error which appeared

similar to the one on election night. This error was repeated with multitude of

ballots and at the time we left the location, the error appeared to be ignored, rather

that resolved. (EXHIBIT D - the error message and partial explanation of the error

being read by the operator.).

      49.    The security risks outlined above – operating system risks, the failure

to harden the computers, performing operations directly on the operating systems,

lax control of memory cards, lack of procedures, and potential remote access, are

extreme and destroy the credibility of the tabulations and output of the reports

coming from a voting system.

      50.    Such a risk could be overcome if the election were conducted using

hand marked paper ballots, with proper chain of custody controls. For elections

conducted with hand marked paper ballots, any malware or human error involved

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in the server security deficiencies or malfunctions could be overcome with a robust

audit of the hand marked paper ballots and in case of irregularities detected,

remedied by a recount. However, given that BMD ballots are computer marked,

and the ballots therefore unauditable for determining the result, no recovery from

system security lapses is possible for providing any confidence in the reported

outcomes.

Ballot Scanning and Tabulation of Vote Marks

       51.    I have been asked to evaluate the performance and reliability of

Georgia’s Dominion precinct and central count scanners in the counting of votes

on hand marked paper ballots.

       52.    On or about June 10th, Jeanne Dufort and Marilyn Marks called me to

seek my perspective on what Ms. Dufort said she observed while serving as a Vote

Review Panel member in Morgan County. Ms. Dufort told me that she observed

votes that were not counted as votes nor flagged by the Dominion adjudication

software.

       53.    Because of the ongoing questions this raised related to the reliability

of the Dominion system tabulation of hand marked ballots, I was asked by

Coalition Plaintiffs to conduct technical analysis of the scanner and tabulation

accuracy. That analysis is still in its early stages.

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      54.    Before addressing the particulars of my findings and research into the

accuracy of Dominion’s scanning and tabulation, I will address the basic process

by which an image on a voted hand marked paper ballot is processed by scanner

and tabulation software generally. It is important to understand that the Dominion

scanners are Canon off the shelf scanners and their embedded software were

designed for different applications than ballot scanning which is best conducted

with scanners specifically designed for detecting hand markings on paper ballots.

      55.    Contrary of public belief, the scanner is not taking a picture of the

paper. The scanner is illuminating the paper with a number of narrow spectrum

color lights, typically 3, and then using software to produce an approximation what

the human eye would be likely to see if there would had been a single white wide-

spectrum light source. This process takes place in partially within the scanner and

embedded software in the (commercial off the shelf) scanner and partially in the

driver software in the host computer. It is guided by number of settings and

configurations, some of which are stored in the scanner and some in the driver

software. The scanner sensors gather more information than will be saved into the

resulting file and another set of settings and configurations are used to drive that

part of the process. The scanners also produce anomalies which are automatically

removed from the images by the software. All these activities are performed

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outside of the Dominion election software, which is relying on the end product of

this process as the input.

      56.    I began reviewing Dominion user manuals in the public domain to

further investigate the Dominion process.

      57.    On August 14, I received 2 sample Fulton County August 11 ballots

of high-speed scanned ballot from Rhonda Martin, who stated that she obtained

them from Fulton County during Coalition Plaintiff’s discovery. The image

characteristics matched the file details I had seen on the screen in EPC. The image

is TIFF format, about 1700 by 2200 pixels with 1-bit color depth (= strictly black

or white pixels only) with 200 by 200 dots per square inch (“dpi”) resolution

resulting in files that are typically about 64 or 73 kilo bytes in size for August 11

ballots. With this resolution, the outer dimension of the oval voting target is about

30 by 25 pixels. The oval itself (that is, the oval line that encircles the voting

target) is about 2 pixels wide. The target area is about 450 pixels; the area of the

target a tight bounding box would be 750 pixels and the oval line encircling the

target is 165 pixels. In these images, the oval itself represented about 22% value in

the bounding box around the vote target oval.

      58.     Important image processing decisions are done in scanner software

and before election software threshold values are applied to the image. These

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scanner settings are discussed in an excerpt Dominion’s manual for ICC operations

My understanding is that the excerpt of the Manual was received from Marilyn

Marks who stated that she obtained it from a Georgia election official in response

to an Open Records request. Attached as Exhibit E is page 9 of the manual. Box

number 2 on Exhibit E shows that the settings used are not neutral factory default

settings.

      59.    Each pixel of the voters’ marks on a hand marked paper ballot will be

either in color or gray when the scanner originally measures the markings. The

scanner settings affect how image processing turns each pixel from color or gray to

either black or white in the image the voting software will later process. This

processing step is responsible for major image manipulation and information

reduction before the election software threshold values are calculated. This process

has a high risk of having an impact upon how a voter mark is interpreted by the

tabulation software when the information reduction erases markings from the

scanned image before the election software processes it.

      60.    In my professional opinion, any decision by Georgia’s election

officials about adopting or changing election software threshold values is

premature before the scanner settings are thoroughly tested, optimized and locked.




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      61.    The impact of the scanner settings is minimal for markings made with

a black felt pen but can be great for markings made with any color ballpoint pens.

To illustrate this, I have used standard color scanning settings and applied then

standard conversion from a scanned ballot vote target with widely used free and

open source image processing software “GNU Image Manipulation Program

version 2.10.18” EXHIBIT G shows the color image being converted with the

software’s default settings from color image to Black-and-White only. The red

color does not meet the internal conversion algorithm criteria for black, therefore it

gets erased to white instead.

      62.    Dominion manual for ICC operations clearly show that the scanner

settings are changed from neutral factory default settings. EXHIBIT H shows how

these settings applied different ways alter how a blue marking is converted into

Black-and-White only image.

      63.    The optimal scanner settings are different for each model of scanner

and each type of paper used to print ballots. Furthermore, because scanners are

inherently different, the manufacturers use hidden settings and algorithms to cause

neutral factory settings to produce similar baseline results across different makes

and models. This is well-studied topic; academic and image processing studies

published as early as 1979 discuss the brittleness of black-or-white images in

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conversion. Subsequently, significance for ballot counting has been discussed in

academic USENIX conference peer-reviewed papers.

       64.     On the August 17th at Fulton County Election Preparation Center

Professor Richard DeMillo and I participated in a scan test of August 11 test

ballots using a Fulton County owned Dominion precinct scanner. Two different

ballot styles were tested, one with 4 races and one with 5 races. Attached as

Exhibits I and J show a sample ballots with test marks.

       65.     A batch of 50 test ballots had been marked by Rhonda Martin with

varying types of marks and varying types of writing instruments that a voter might

use at home to mark an absentee ballot. Professor DeMillo and I participated in

marking a handful of ballots.

       66.     Everything said here concerning the August 17 test is based on a very

preliminary analysis. The scanner took about 6 seconds to reject the ballots, and

one ballot was only acceptable “headfirst” while another ballot only “tail first.”

Ballot scanners are designed to read ballots “headfirst” or “tail first,” and front side

and backside and therefore there should not be ballots which are accepted only in

one orientation. I observed the ballots to make sure that both ballots had been

cleanly separated from the stub and I could not identify any defects of any kind on

the ballots.

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      67.    There was a 15 second cycle from the time the precinct scanner

accepted a ballot to the time it was ready for the next ballot. Therefore, the

maximum theoretical capacity with the simple 5 race ballot is about 4 ballots per

minute if the next ballot is ready to be fed into the scanner as soon as the scanner

was ready to take it. In a real-world voting environment, it takes considerably

longer because voters move away from the scanner, the next voter must move in

and subsequently figure where to insert the ballot. The Dominion precinct scanner

that I observed was considerably slower than the ballot scanners I have tested over

the last 15 years. This was done with a simple ballot, and we did not test how

increase of the number of races or vote targets on the ballot would affect the

scanning speed and performance.

      68.    Though my analysis is preliminary, this test reveals that a significant

percentage of filled ovals that would to a human clearly show voter’s intent failed

to register as a vote on the precinct count scanner.

      69.    The necessary testing effort has barely begun at the time of this

writing, as only limited access to equipment has been made available. I have not

had access to the high-volume mail ballot scanner that is expected to process

millions of mail ballots in Georgia’s upcoming elections. However, initial results

suggest that significant revisions must be made in the scanning settings to avoid a

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widespread failure to count certain valid votes that are not marked as filled in

ovals. Without testing, it is impossible to know, if setting changes alone are

sufficient to cure the issue.

Scanned Ballot Tabulation Software Threshold Settings
      70.    Georgia is employing a Dominion tabulation software tool called

“Dual Threshold Technology” for “marginal marks.” (See Exhibit M) The intent of

the tool is to detect voter marks that could be misinterpreted by the software and

flag them for review. While the goal is admirable, the method of achieving this

goal is quite flawed.

      71.    While it is compelling from development cost point of view to use

commercial off the shelf COTS scanners and software, it requires additional steps

to ensure that the integration of the information flow is flawless. In this case, the

software provided by the scanner manufacturer and with settings and

configurations have great impact in how the images are created and what

information is removed from the images before the election software processes it.

In recent years, many defective scanner software packages have been found. These

software flaws include ‘image enhancement’ features which have remained

enabled even when the feature has been chosen to be disabled from the scanner

software provided by the manufacturer. An example of dangerous feature to keep


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enabled is ‘Punch Hole Removal’, intended to make images of documents removed

from notebook binders to look more aesthetically pleasing. The software can and

in many cases will misinterpret a voted oval as a punch hole and erase the vote

from the image file and to make this worse, the punch holes are expected to be

found only in certain places near the edge of the paper, and therefore it will erase

only votes from candidates whose targets are in those target zones.

      72.    Decades ago, when computing and storage capacity were expensive

black-and-white image commonly meant 1-bit black-or-white pixel images like

used by Dominion system. As computer got faster and storage space cheaper

during the last 2-3 decades black-and-white image has become by default meaning

255 shades of gray grayscale images. For the purposes of reliable digitalization of

physical documents, grayscale image carries more information from the original

document for reliable processing and especially when colored markings are being

processed. With today’s technology, the difference in processing time and storage

prices between grayscale and 1-bit images has become completely meaningless,

and the benefits gained in accuracy are undeniable.

      73.    I am aware that the Georgia Secretary of State’s office has stated that

Georgia threshold settings are national industry standards for ballot scanners

(Exhibit K). This is simply untrue. If, there were an industry standard for that, it

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would be part of EAC certification. There is no EAC standard for such threshold

settings. As mentioned before, the optimal settings are products of many elements.

The type of the scanner used, the scanner settings and configuration, the type of the

paper used, the type of the ink printer has used in printing the ballots, color dropout

settings, just to name few. Older scanner models, which were optical mark

recognitions scanners, used to be calibrated using calibration sheet – similar

process is needed to be established for digital imaging scanners used this way as

the ballot scanners.

      74.    Furthermore, the software settings in Exhibit E box 2 show that the

software is instructed to ignore all markings in red color (“Color drop-out: Red”),

This clearly indicates that the software was expecting the oval to be printed in Red

and therefore it will be automatically removed from the calculation. The software

does not anticipate printed black ovals as used in Fulton County. Voters have

likely not been properly warned that any pen they use which ink contains high

concentration of red pigment particles is at risk of not counting, even if to the

human eye the ink looks very dark.

      75.    I listened to the August 10 meeting of the State Board of Elections as

they approved a draft rule related to what constitutes a vote, incorporating the

following language:

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      Ballot scanners that are used to tabulate optical scan ballots marked by
      hand shall be set so that:

      1. Detection of 20% or more fill-in of the target area surrounded by the
      oval shall be considered a vote for the selection;

      2. Detection of less than 10% fill-in of the target area surrounded by the
      oval shall not be considered a vote for that selection;

      3. Detection of at least 10% but less than 20% fill-in of the target area
      surrounded by the oval shall flag the ballot for adjudication by a vote
      review panel as set forth in O.C.G.A. 21-2-483(g). In reviewing any ballot
      flagged for adjudication, the votes shall be counted if, in the opinion of the
      vote review panel, the voter has clearly and without question indicated the candidate or
      candidates and answers to questions for which such voter desires to vote.


      76.    The settings discussed in the rule are completely subject to the

scanner settings. How the physical marking is translated into the digital image is

determined by those values and therefore setting the threshold values without at the

same time setting the scanner settings carries no value or meaning. If the ballots

will be continuing to be printed with black only, there is no logic in having any

drop-out colors.

      77.    Before the State sets threshold standards for the Dominion system,

extensive testing is needed to establish optimal configuration and settings for each

step of the process. Also, the scanners are likely to have settings additional

configuration and settings which are not visible menus shown in the manual

excerpt. All those should be evaluated and tested for all types of scanners approved

for use in Georgia, including the precinct scanners
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       78.   As temporary solution, after initial testing, the scanner settings and

configuration should be locked and then a low threshold values should be chosen.

All drop-out colors should be disabled. This will increase the number of ballots

chosen for human review and reduce the number of valid votes not being counted

as cast.

Logic and Accuracy Testing

       79.    Ballot-Marking Device systems inherits the same well-documented

systemic security issues embedded in direct-recording electronic (DRE) voting

machine design. Such design flaws eventually are causing the demise of DRE

voting system across the country as it did in Georgia. In essence the Ballot

Marking Device is a general-purpose computer running a general-purpose

operating system with touchscreen that is utilized as a platform to run a software,

very similar to DRE by displaying a ballot to the voter and recording the voter’s

intents. The main difference is that instead of recording those internally digitally, it

prints out a ballot summary card of voter’s choices.

       80.   Security properties of this approach would be positively different

from DREs if the ballot contained only human-readable information and all voters

are required to and were capable of verifying their choices from the paper ballot

summary. That of course is unrealistic.

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      81.    When voter fails to inspect the paper ballot and significant portion of

the information is not in human readable from as a QR barcode, Ballot-Marking

Device based voting effectively inherits most of the negative and undesirable

security and reliability properties directly from DRE paradigm, and therefore

should be subject to the same testing requirements and mitigation strategies as

DREs.

      82.    In response to repeating myriad of issues with DREs, which have been

attributed to causes from screen calibration issues to failures in ballot definition

configuration distribution, a robust Logic & Accuracy testing regulation have been

established. These root causes are present in BMDs and therefore should be

evaluated in the same way as DREs have been.

      I received the Georgia Secretary of State’s manual “Logic and Accuracy

Procedures “Version 1.0 January 2020 from Rhonda Martin. Procedure described

in section D “Testing the BMD and Printer” is taking significant shortcuts,

presumably to cut the labor work required. (Section D is attached as Exhibit L)

These shortcuts significantly weaken the security and reliability posture of the

system and protections against already known systemic pitfalls, usability

predicaments and security inadequacies.




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CONCLUSIONS

      83.    The scanner software and tabulation software settings and

configurations being employed to determine which votes to count on hand marked

paper ballots are likely causing clearly intentioned votes not to be counted as cast.

      84.    The method of using 1-bit images and calculated relative darkness

values from such pre-reduced information to determine voter marks on ballots is

severely outdated and obsolete. It artificially and unnecessarily increases the

failure rates to recognize votes on hand-marked paper ballots. As a temporary

mitigation, optimal configurations and settings for all steps of the process should

be established after robust independent testing to mitigate the design flaw and

augment it with human assisted processes, but that will not cure the root cause of

the software deficiency which needs to be addressed.

      85.    The voting system is being deployed, configured and operated in

Fulton County in a manner that escalates the security risk to an extreme level and

calls into question the accuracy of the election results. The lack of well-defined

process and compliance testing should be addressed immediately using

independent experts. The use and the supervision of the Dominion personnel

operating Fulton County’s Dominion Voting System should be evaluated.




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      86.   Voters are not reviewing their BMD printed ballots before scanning

and casting them, which causes BMD-generated results to be un-auditable due to

the untrustworthy audit trail. Furthermore, because BMDs are inheriting known

fundamental architectural deficiencies from DREs, no mitigation and assurance

measures can be weakened, including but not limited to Logic and Accuracy

Testing procedures.



This 24th day of August 2020.

                                     ________________________
                                     Harri Hursti




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EXHIBIT A:




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EXHIBIT B:




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EXHIBIT C:




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EXHIBIT D:




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EXHIBIT E:




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EXHIBIT F:




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EXHIBIT G:




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EXHIBIT H:




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EXHIBIT I:




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EXHIBIT J:




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EXHIBIT K:




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EXHIBIT L:




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EXHIBIT M:




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